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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


Infrastructure Services Luxembourg S.A.R.L.
and Energia Termosolar B.V.,

                      Petitioners,
                                                    Civil Action No. __________________
       v.

Kingdom of Spain,

                      Respondent.


                               Certificate Under Rule LCvR 26.1

       I, the undersigned, counsel of record for Infrastructure Services Luxembourg S.A.R.L.

and Energia Termosolar B.V., certify that to the best of my knowledge and belief, the following

are parent companies, subsidiaries, affiliates, or companies which own at least 10% of the stock

of Infrastructure Services Luxembourg S.A.R.L. and Energia Termosolar B.V. which have any

outstanding securities in the hands of the public: Burford Capital Ltd. is publicly traded and has

an indirect ownership interest in Infrastructure Services Luxembourg S.A.R.L. and Energia

Termosolar B.V. No other parent company, subsidiary, affiliate, or company which owns at

least 10% of the stock of Infrastructure Services Luxembourg S.A.R.L. or Energia Termosolar

B.V. has any outstanding securities in the hands of the public.
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       These representations are made in order that judges of this Court may determine the need

for recusal.



Dated: July 27, 2018

                                                   Respectfully submitted,

                                                   /s/ Stuart F. Delery
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                                                   Luxembourg S.A.R.L. and Energia
                                                   Termosolar B.V.




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